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                                    ERIC D. HALL, ESQ.
                                    ATTORNEY AT LAW



P.O. Box 232                                               Telephone: (330) 245-7504
Medina, Ohio 44258                                         E-Mail: attorneyhall@yahoo.com


                                     December 3, 2020

Elena N. Boop
Michael J. Pike
 Brian C. Kelly
Assistant Directors of Law
City of Cleveland, Department of Law
601 Lakeside Avenue, Room 106
MPike@city.cleveland.oh.us
eboop@city.cleveland.oh.us
bkelly@city.cleveland.oh.us

Thomas J. Cabral
Gallagher Sharp LLP
1215 Superior Avenue, 7th Floor
Cleveland, Ohio 44114
tcabral@gallaghersharp.com

Thomas A. Skidmore
The Andrew House
655 West Market Street
Akron, Ohio 44303
thomasskidmore@akrontruthandjustice.com

Via electronic mail.
Re: Emad Alabsi v. City of Cleveland, et al.
   United States District Court Northern District of Ohio Case No. 1:20-cv-01933


Dear Counselors,

       Please find the following demand for settlement jointly and severally for all Defendants
in the above referenced matter.
       1. Loss of Income: $1,000.000.00


                                                                                      EXHIBIT
                                                                                            A
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       2. Emotional Distress: $1,000.000.00

       3. Physical Injury/Medical: Plaintiff is still treating for his injuries and does not know the

       extent and cost of said injuries: $1,000.000.00

       4. Punitive Damages: $1,000.000.00

       5. Attorney Fees/Per written contract: 33% of any settlement/judgment

Total: $4,000.000.00 + Attorney Fees

If you have any questions please contact me.

                                                                     Sincerely,
                                                                     /s/Eric D. Hall
